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                    6        Attorneys for Plaintiffs

                    7
                                                          UNITED STATES DISTRICT COURT
                    8
                                                                   DISTRICT OF NEVADA
                    9

                  10         BROADCAST MUSIC, INC. et al,                       )
                                                                                )
                  11                                Plaintiffs,                 ) Case No.3:06-CV-00374-ECR-RAM
                                                                                )
                  12                        v.                                  )
                                                                                )
                  13         PURE COUNTRY DANCEHALL & SALOON,                   )
                             INC. d/b/a PURE COUNTRY DANCEHALL &                )
                  14         SALOON and CATHI WOODS,                            )
                             individually,                                      )
                  15                                                            )
                                                    Defendants.                 )
                  16                                                            )

                  17                                              PERMANENT INJUNCTION

                  18                This matter having come before the Court on Plaintiffs’ Motion for Summary Judgment,

                  19         and the Court having granted summary judgment in favor of Plaintiffs against Defendants as to

                  20         Defendants’ infringement of Plaintiffs’ copyrighted materials, it is hereby ORDERED,

                  21         ADJUGED AND DECREED that:

                  22                1.      Defendants, their officers, agents, servants, employees, and attorneys, and all

                  23         persons in active concert or participation with them are permanently enjoined and restrained

                  24         from infringing, by any means, any of Plaintiffs’ rights under the Copyright Act in Plaintiffs’

                  25         copyrighted musical compositions, including, but not limited to, engaging in or allowing the

                  26         unlicensed public performance of Plaintiffs’ copyrighted musical compositions.

                  27         ///

                  28         ///
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       & COLLINS
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                    1                2.       The Court retains jurisdiction over this matter for purposes of enforcing and
                    2         applying this Permanent Injunction.
                    3                DATED this          day of February, 2008.
                    4
                                                                    By:                                         .
                    5                                                     UNITED DISTRICT COURT JUDGE
                    6
                              Submitted by:
                    7

                    8         /s/ Michael D. Knox              .
                              LIONEL SAWYER & COLLINS
                    9         Leslie Bryan Hart, Esq.
                              Michael D. Knox, Esq.
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                              Case 3:06-cv-00374-LRH-WGC Document 42 Filed 02/19/08 Page 3 of 3



                    1                                          CERTIFICATE OF SERVICE
                    2                Pursuant to F.R.C.P. 5(b), I certify that I am an employee of Lionel Sawyer & Collins
                    3         and not a party to, nor interested in, the within action; that on the 19th day of February, 2008, a
                    4         true and correct copy of PERMANENT INJUNCTION was transmitted electronically through
                    5         the Court’s e-filing electronic notice system*, to the following:
                    6                I hereby certify that the following parties in this matter are e-filers and have agreed to
                    7         accept service of court filed documents via the Court’s CM/ECF System:
                    8         Michael Morrison
                              1495 Ridgeview Drive, #220
                    9         Reno, NV 89509
                              morrisonlaw@pyramid.net
                 10

                 11                                                                 /s/ Jeanne Hale                      .
                                                                                        JEANNE HALE
                 12

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